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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA

                Plaintiff,

        v.                                               Case No. 09-cv-40082-JPG-1

 TERRANCE P. MARTIN,

                Defendant.

                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Terrance P. Martin’s motion to sever,

motion to suppress and motion for discovery (Doc. 43). Martin filed these motions pro se,

although he is represented by attorney Peter M. Cohen. A defendant does not have a right to file

his own motions when he is represented by counsel. See Hayes v. Hawes, 921 F.2d 100, 102

(7th Cir. 1990) (per curiam). “Representation by counsel and self-representation are mutually

exclusive.” Cain v. Peters, 972 F.2d 748, 750 (7th Cir. 1992). So-called “hybrid representation”

confuses and extends matters at trial and in other proceedings and, therefore, it is forbidden. See

United States v. Oreye, 263 F.3d 669, 672-73 (7th Cir. 2001). The Court may strike as improper

any such pro se motions. See, e.g., United States v. Gwiazdzinski, 141 F.3d 784, 787 (7th Cir.

1998). The Court hereby ORDERS that Martin’s motion (Doc. 43) be STRICKEN.

IT IS SO ORDERED.
DATED: March 24, 2010

                                             s/ J. Phil Gilbert
                                             J. PHIL GILBERT
                                             DISTRICT JUDGE
